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I-INITED STATES OF AMERICA, ex rel.                          fi.ffi(, u.s DlgTRlgT Courr
JORI GLASPER and KRYSTAL WYCKOFF,

     Plaintiff-Relators,
                                                     Filed Under Seal and In Camera
     v.

ST. JAMES WELLNESS REHAB & VILLAS,
                                             I 1:18-cv{E$3
                                             I Judge Ruben Gretillo
LLC, EXTENDED CARE CONSULTING, LLC,
EXTENDED CARE CLINICAL, LLC, ESTATES
                                             I magistrate Judge Daniel G- tartin
OF HYDE PARK, LLC, CHATEAU NURSING
AND REHABILITATION, LLC, ERIC                )       Jury Trial Demanded
ROTHNER LIMITED PARTNERSHIP, LEMONT          )
NURSING AND REHABILITATION CENTER,           )
LLC, TRI-STATE NURSING &                     )
REHABILITATION CENTER, [NC., SOUTH           )
SUBURBAN REHABILITATION CENTER, LLC,         )
PRAIRIE MANOR NURSING &                      )
REHABILITATION CENTER, LLC,                  )
LAKEWOOD NURSING & REHABILITATION            )
CENTER, LLC, BEECHER MANOR NURSING           )
AND REHABILITATION CENTER, LLC, BRIAR        )
PLACE NURSING, LTD., COI-INTRYSIDE           )
NURSING & REHABILITATION CENTER, LLC,        )
LITTLE VILLAGE HEALTHCARE CENTER,            )
[NC., PRAIRIE VILLAGE HEALTHCARE             )
CENTER, INC., SNOW VALLEY NURSING &          )
REHABILITATION CENTER, LLC,                  )
EDGEWATER CARE & REHABILITATION              )
CENTER, INC., KENSINGTON PLACE               )
NURSING & REHABILITATION CENTER, LLC,        )
RUSHVILLE NURSING & REHABILITATION           )
CENTER, LLC, TIMBER POINT HEALTHCARE,        )
INC., SOMERSET PLACE, LLC, MAJOR             )
HOSPITAL, DYER NURSING AND                   )
REHABILITATION CENTER, LLC,                  )
LINCOLNSHIRE HEALTH &                        )
REHABILITATION CENTER, LLC, and DLS          )
FINANCIAL CONSULTING LLC                     )
                                             )
     Defendants.
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                                            COMPLAINT
        Now comes the United States of America, on the relation of Jori Glasper and Krystal

Wyckoff, and complains of Defendants St. James Wellness Rehab & Villas, LLC, Extended Care

Consulting,LLC, Extended Care Clinical,LLC, Estates of Hyde Park, LLC, Chateau Nursing

and Rehabilitation, LLC, Eric Rothner Limited Partnership, Lemont Nursing and Rehabilitation

Center, LLC, Tri-State Nursing & Rehabilitation Center, Inc., South Suburban Rehabilitation

Center, LLC, Prairie Manor Nursing & Rehabilitation Center, LLC, Lakewood Nursing &

Rehabilitation Center, LLC, Beecher Manor Nursing and Rehabilitation Center, LLC, Briar

Place Nursing, Ltd., Countryside Nursing & Rehabilitation Center, LLC, Little Village

Healthcare Center, Inc., Prairie Village Healthcare Center, Inc., Snow Valley Nursing &

Rehabilitation Center, LLC, Edgewater Care & Rehabilitation Center, Inc., Kensington Place

Nursing & Rehabilitation Center, LLC, Rushville Nursing & Rehabilitation Center, LLC, Timber

Point Healthcare, Inc., Somerset Place, LLC, Major Hospital, Nursing and Rehabilitation Center,

LLC, Lincolnshire Health & Rehabilitation Center, LLC and DLS Financial Consulting LLC as

follows:

L       INTRODUCTION

        1.        This action seeks damages and civil penalties arising from violations of the

federal False Claims Act, 3l U.S.C. $$3729, et seq., the Illinois False Claims Act 740ILCS 175,

et. seq., the Indiana False Claims and Whistleblower Protection Act, Indiana Code 5-11-5.5 et.

seq., and the Indiana Medicaid False Claims and Whistleblower Protection Act, Indiana Code 5-

ll-5.7 et. seq.

        2.        Relator Jori Glasper was a Social Services Director at St. James Manor & Villas

Skilled and Assisted Living ("St. James Manor") from August 2015 to August 2017. Relator

Krystal Wycoff was the Therapy Program Director at St. James Manor from March2)l7 to
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November 2017 . St. James Manor is operated, serviced, owned, and managed by the Defendants.

Relators Glasper and Wyckoff have substantial knowledge of the various frauds committed by

the Defendants.

       3.      Starting from at least 2015 through the present, Defendants engaged in various

schemes to create false records and to cause the submission of false claims for unreasonable,

unnecessary, or unskilled therapy, or for therapy that did not occur as reported, ultimately

cheating Medicare out of millions of dollars. These schemes include:

               o Presumptively placing patients in the highest therapy reimbursement level,
                    rather than relying on individualized evaluations and/or assessments to

                    determine the level of care most suitable for each patient's clinical andlor

                    rehabilitative needs;

               o Scheduling and reporting the provision of therapy to patients even after the
                    patients'treating therapists had recommended that they be discharged from

                    therapy andlor the facility;

               o Delaying the discharge of patients in order to bill for unnecessary therapy; and
               o Providing a level of therapy to patients that was not medically necessary
                    andlor went materially beyond the level recommended by the patients'

                    therapists.

       4.      When Relators Glasper and Wyckoff raised concerns about these schemes,

Defendants retaliated against them by cutting Relator Glasper's work hours while requiring her

to do the same amount of work and terminating Relator Wyckoff from her position as Therapy

Program Director.
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I       PARTIES

        5.     Relator Jori Glasper was the Social Services Director at St. James Manor for the

past two years. In her capacity as the Social Services Director, she reviewed patients' therapy

and progress notes, assessed treatment needs, prepared discharge papers, coordinated and

ordered all services and equipment needed by patients who are ready to be discharged, and was

the facility's point of contact for patients' friends, family, andlor individuals with the power of

attorney. As such, as part of her regular duties, Ms. Glasper has valuable knowledge regarding

the assessment, care, and billing practices of Defendants for Medicare patients from admission

through discharge.

       6.      Ms. Glasper has worked in social services since 2009. Before she was hired by St.

James Manor, Ms. Glasper spent four years as a case manager for the Indiana Department of

Child Services. In that capacity, she identified and provided children in need with necessary

services to ensure their well-being. Ms. Glasper is a resident of Indiana.

       7.      Relator Krystal Wycoff was the Therapy Program Director at St. James Manor

from March2017 to November 2017. As the Therapy Program Director, she reviewed patients'

occupational therapy and progress notes, routinely met with interdisciplinary teams to develop

discharge plans, and coordinated with all services at the facility to ensure patients' needs were

addressed. As such, as part of her regular duties, Ms. Wycoff has valuable knowledge regarding

the assessment, care, and billing practices of Defendants for Medicare patients from admission

through discharge.

       8.      Relator Krystal Wyckoff has been a Certified Occupational Therapist Assistant

(COTA) since 1997 and been a therapy program manager for over 15 years. As an experienced

therapy program manager, she understands the Federal, State and Local laws, rules and
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regulations related to therapy service delivery in SNFs. Ms. Wyckoff is also knowledgeable of

the principles of rehabilitation and of life development, growth, and recovery, and able to

develop therapy plans and goals accordingly, and to identi$r patients who are not good

candidates for therapy.

         9.         Defendants are skilled nursing and immediate care facilities in Illinois and

Indiana or are the entities that operate these facilities. All of the Defendants are owned by Eric

Rothner and/or by one or more of his family members. Mr. Rothner has been previously accused

of fraud and breach of contract in relation to the nursing homes he owns. Mr. Rothner is also

well known for setting up complex ownership and operation structures in order to diffuse

liability for fraud and breach of contract. As described in more detail below, many of the nursing

homes owned by Mr. Rothner are run by separate corporations, whose ownership is divided

among family members, business associates, and trusts, with each corporation having a board of

directors whose names are not public information.

                  Defendant Skilled Nursing and Immediate Care Facilities in Illinois

         10.        Defendant St. James Wellness Rehab & Villas, LLC is a skilled nursing and

intermediate care facility doing business as St. James Manor & Villas, located in Crete, Illinois.

The limited liability company is headquartered in Evanston, Illinois and was incorporated in

2014.

         1   1.     Defendant Estates of Hyde Park, LLC is a skilled nursing and intermediate care

facility doing business as Estate of Hyde Park, located in Chicago, Illinois. The limited liability

company is headquartered in Chicago, Illinois and was incorporated in20l4.

         12.       Defendant Chateau Nursing and Rehabilitation, LLC is a skilled nursing and

intermediate care facility doing business as St. James Manor & Villas, located in Crete, Illinois.
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The limited liability company is headquartered in Evanston, Illinois and was incorporated in

2014.

         13.   Defendant Eric Rothner Limited Partnership is a skilled nursing and intermediate

care facility doing business as Wheaton Care Center, located in Wheaton, Illinois. The limited

partnership is headquartered in Evanston, Illinois and was incorporated in 1993.

         L4. Defendant Lemont Nursing and Rehabilitation Center, LLC is a skilled nursing
and intermediate care facility doing business as Lemont Nursing and Rehabilitation Center,

located in Lemont, Illinois. The limited liability company is headquartered in Evanston, Illinois

and was incorporated in 2002.

         15.   Defendant Tri-State Nursing & Rehabilitation Center, Inc. is a skilled nursing and

intermediate care facility doing business as Tri-State Nursing Rehabilitation Center, located in

Lansing, Illinois. The corporation is headquartered in Evanston, Illinois and was incorporated in

1995.

         16.   Defendant South Suburban Rehabilitation Center, LLC is a skilled nursing and

intermediate care facility doing business as South Suburban Rehabilitation Center, located in

Homewood, Illinois. The limited liability company is headquartered in Evanston, Illinois and

was incorporated in 2006.

         17.   Defendant Prairie Manor Nursing & Rehabilitation Center, LLC is a skilled

nursing and intermediate care facility doing business as Prairie Manor Nursing and

Rehabilitation Center, located in Chicago Heights, Illinois. The limited liability company is

headquartered in Evanston, Illinois and was incorporated in2002.

         18.   Defendant Lakewood Nursing & Rehabilitation Center, LLC is a skilled nursing

and intermediate care facility doing business as Lakewood Nursing and Rehabilitation Center,
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located in Plainfield, Illinois. The limited liability company is headquartered in Evanston, Illinois

and was incorporated in 2002.

        19. Defendant Beecher Manor Nursing and Rehabilitation Center, LLC is a skilled
nursing and intermediate care facility doing business as Beecher Manor Nursing and

Rehabilitation Center, located in Beecher, Illinois. The limited liability company is

headquartered in Evanston, Illinois and was incorporated in 2005.

        20.    Defendant Briar Place Nursing, Ltd. is a skilled nursing and intermediate care

facility doing business as Briar Place, located in Indian Head Park, Illinois. The corporation is

headquartered in Evanston, Illinois and was incorporated in 1986.

       21.     Defendant Countryside Nursing & Rehabilitation Center, LLC is a skilled nursing

and intermediate care facility doing business as Countryside Nursing & Rehabilitation Center,

located in Dolton, Illinois. The limited liability company is headquartered in Evanston, Illinois

and was incorporated in 2014.

       22.     Defendant Little Village Healthcare Center, Inc. is a skilled nursing and

intermediate care facility doing business as Little Village Nursing & Rehabilitation Center,

located in Chicago, Illinois. The limited liability company is headquartered in Chicago, Illinois

and was incorporated in 2017 .

       23.     Park House Nursing and Rehabilitation Center, LLC is a skilled nursing and

intermediate care facility doing business as Park House Nursing and Rehabilitation Center n/Wa

Little Village Nursing & Rehabilitation Center, located in Chicago, Illinois. The limited liability

company is headquartered in Evanston, Illinois and was incorporated in 2009.

       24.     Defendant Prairie Village Healthcare Center, Inc. is a skilled nursing and

intermediate care facility doing business as Prairie Village Healthcare Center, located in
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Jacksonville, Illinois. The limited liability company is headquartered in Evanston, Illinois and

was incorporated in 1997 .

       25.     Defendant Snow Valley Nursing & Rehabilitation Center, LLC was a skilled

nursing and intermediate care facility doing business as Snow Valley Nursing & Rehabilitation

Center, located in Lisle, Illinois. The limited liability company is headquartered in Evanston,

Illinois and was incorporatedin2002. The company was involuntarily dissolved in 2015.

       26.     Defendant Edgewater Care & Rehabilitation Center, Inc. is a skilled nursing and

intermediate care facility doing business as Sheridan Shores Care & Rehabilitation Center,

located in Chicago, Illinois. The corporation is headquartered in Evanston, Illinois and was

incorporated in 1993.

       27.     Defendant Kensington Place Nursing & Rehabilitation Center, LLC is a skilled

nursing and intermediate care facility doing business as Kensington Place Nursing &

Rehabilitation Center, located in Chicago, Illinois. The limited liability company is

headquartered in Chicago, Illinois and was incorporatedin2}l3.

       28.     Defendant Rushville Nursing & Rehabilitation Center, LLC is a skilled nursing

and intermediate care facility doing business as Rushville Nursing & Rehabilitation Center,

located in Rushville, Illinois. The limited liability company is headquartered in Evanston, Illinois

and was incorporated in 2015.

       29.     Defendant Timber Point Healthcare, Inc. is a skilled nursing and intermediate care

facility doing business as Timber Point Healthcare Center, located in Camp Point, Illinois. The

corporation is headquartered in Skokie, Illinois and was incorporated in 1997 .

       30.     Defendant Somerset Place, LLC is a skilled nursing and intermediate care facility

doing business as Somerset Place, located in Chicago, Illinois. The limited liability company is
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headquartered in Evanston, Illinois and was incorporated in 1998 and was involuntarily

dissolved in2014.

       31.     Defendants Extended Care Consulting, LLC and Extended Care Clinical, LLC are

a healthcare consulting company headquartered in Evanston, Illinois. Extended Care services 19


health care facilities, including St. James Manor, throughout the Chicagoland area. Both limited

liability companies are headquartered in Evanston, Illinois and were incorporated in 2008.

             Defendant SkiIIed Nursing and Immediate Care Facilities in Indiana

       32.     Defendant Extended Care's website states it operates at least five care facilities in

Indiana. Defendant Major Hospital, an Indiana entity formed pursuant tolC 16-22-8-6, owns six

care facilities in lndiana: 1) Munster Med Inn located in Munster, Indiana; 2)Dyer Nursing and

Rehabilitation Center located in Dyer, Indiana; 3) Sebo's Nursing and Rehabilitation Center

located in Hobart, Indiana; 4) Lincolnshire Health Center located in Merrillville, Indiana; 5)

Spring Mill Health Campus located in Merrillville, Indiana; and 6) Lake County Nursing and

Rehabilitation Center located in East Chicago, Indiana.

       33.     Defendant Dyer Nursing and Rehabilitation Center, LLC either owns or operates

the Dyer Nursing and Rehabilitation Center located in Dyer, Indiana. The limited liability

company is headquartered in Evanston, Illinois.

       34.     Defendant Lincolnshire Health & Rehabilitation Center, LLC, an Indiana limited

liability company, manages and operates Lincolnshire Health & Rehabilitation Center. The

limited liability company is headquartered in Evanston, Illinois.

       35.     Defendant DLS Financial Consulting LLC, an Indiana limited liability company,

manages and operates Dyer Nursing and Rehabilitation Center located in Dyer, Indiana, Sebo's

Nursing and Rehabilitation Center located in Hobart, Indiana and Lake County Nursing and
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Rehabilitation Center in East Chicago, Indiana. The limited liability company is headquartered

in Evanston, Illinois.

         36.    Both Defendants are managed by Central Street Management, LLC with their

principle office located at220l West Main Street, Evanston, Illinois.

III.     JURISDICTION AND VENUE

         37.    This Court has jurisdiction pursuant to 28 U.S.C. $1331 because the case arises

under a federal statute, 31 U.S.C. $3729, et seq. There has been no public disclosure of the fraud

alleged herein. Moreover, the relators are an original source because (l) prior to any public

disclosure they voluntarily disclosed to the government the information on which the allegations

in this suit are based; and (2) they have knowledge that is independent of, and materially adds to,

any publicly disclosed information, and they voluntarily provided that information to the

govemment before filing this suit.

         38.    Venue is proper in this district under 28 U.S.C. $1391(b) and 31 U.S.C. 93732(a)

because at least one of the Defendants conducts business in this judicial district and at least one

of the claims giving rise to this Complaint occurred in this judicial district.

IV.      THE FALSE CLAIMS ACT

         39.    The federal False Claims Act, 31 U.S.C. $$ 3729, et seq., imposes liability on any

person who: knowingly presents, or causes to be presented, a false or fraudulent claim for

payment or approval ($ 3729(a)(1XA)); knowingly makes, uses, or causes to be made or used, a

false record or statement material to a false or fraudulent claim ($ 3729(a)(1XB)); or conspires to

commit such violations ($ 3729(a)(l)(C)).

         40.    The FCA defines the term "knowingly''to mean actual knowledge, deliberate

ignorance of truth or falsity, or reckless disregard of truth or falsity, and no proof of specific



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intent to defraud is required. $ 3729(b)(1). A "claim" includes any request or danand, whether

under contract or otherwise, for money that is made to an agent of the United States or to a

contractor if the money is to be spent to advance a government program or interest and the

government provides or will reimburse any portion of the money. 5 3729@)(2). A false record or

statement is "material" if it has a natural tendency to influence, or is capable of influencing, the

payment or receipt of money or property. $ 3729(bX4).

        4I.     Claims for payment knowingly submitted to Medicare that fail to meet the

Medicare conditions of payrnent as set forth in the applicable statutes, regulations, and

requirements constitute false and fraudulent claims under the FCA, creating liability for those

who submitted the false claims, created the false statements or records, andlor caused or

conspired in the false claims or false statements.

V.     MEDICARE PART A: SKILLED NURSING FACILITY BENEFIT

       A.      Medicare Coverage of SNF Rehabilitation Therapy

       42.     Congress established the Medicare Program to provide health insurance coverage

for individuals aged 65 or older and for individuals with certain disabilities or afflictions. See 42

u.s.c. $$ 426, 4264.

        43.    The Medicare Program is divided into four parts, each covering different services.

Medicare Part A generally covers inpatient hospital services, home health and hospice care, and

skilled nursing and rehabilitation care.

       44.     Subject to certain conditions, Medicare Part A covers up to 100 days of nursing

andlor rehabilitative care in a skilled nursing facility ("SNF") for a benefit period (i.e., spell of

illness) following a qualifying hospital stay of at least three consecutive days.42 U.S.C.

$ 13esd(a)(2XA); 42 C.F.R. $40e.61(b).




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        45.     Among the conditions that Medicare imposes on its Part A SNF benefit are that:

(1) the patient requires skilled nursing care or skilled rehabilitation services, or both, on a daily

basis; (2) the daily skilled services must be services that, as apracticalmatter, can only be

provided in a SNF on an inpatient basis; and (3) the services are provided to address a condition

for which the patient received treatment during a qualifying hospital stay or that arose while the

patient was receiving care in a skilled nursing facility for a condition treated during the hospital

stay.42 U.S.C. $139sf(a)(2)(D; a2 C.F.R. $409.31(b).

        46.     Upon admission, or as soon as reasonably practicable, Medicare requires that a

physician or certain other qualified health care practitioners certify that these conditions are met

at the time of a patient's admission to the SNF and re-certify the patient's continuing need for

skilled rehabilitation therapy services at regular intervals thereafter. See 42 U.S.C. $

1395f(a)(2)(B); Medicare Benefit Policy Manual, Ch. 8, $940, 40.1.

        47.     For a therapy service to be considered skilled, it must be "so inherently complex

that it can be safely and effectively performed only by, or under the supervision of, professional

or technical personnel," 42 C.F.R $ a09.32(a), such as physical therapists, occupational

therapists, or speech pathologists. See 42. C.F.R. $ a09.31(a).

        48.    Personal care services are not skilled services covered under Medicare Part A. An

example ofa personal care service that is not covered is the "general supervision ofexercises

which have been taught to the patient, including, but not limited to, the actual carrying out of

maintenance programs (i.e., the performance of repetitive exercises required to maintain function

do not require the skills of a therapist and would not constitute skilled rehabilitation services).

Similarly, repetitious exercises to improve gait, maintain strength, or endurance; passive

exercises to maintain range of motion inparalyzed extremities, which are not related to a specific




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loss of function; and assistive walking do not constitute skilled rehabilitation services." 42

C.F.R. $ 409.33(d). Indeed, many skilled nursing facility inpatients do not require skilled

physical therapy services but do require services which are more routine in nature and can be

performed by supportive personnel. See Medicare Benefit Policy Manual, Chapter 8, $ 30.4.1.1.

        49.     Medicare Part A covers only those services that are "reasonable and necessary for

the diagnosis or treatment of illness of injury;' See 42U.5.C. $1395y(a)(1XA) ('[N]o payment

may be made under part A or part B for any expenses incurred for items or

services...which...are not reasonable and necessary for the diagnosis or treatment of illness or

injury or to improve the functioning of a malformed body member").

        50.     In the context of skilled nursing or rehabilitation therapy, services are considered

reasonable and necessary if the services are consistent with the nature and severity of the

patient's individual illness, injury, or particular medical needs; consistent with accepted

standards of medical practice; and reasonable in terms of duration and quantity. See Medicare

Benefit Policy Manual, Ch. 8, $30.

        51.     In order to assess the reasonableness and necessity ofskilled rehabilitation

therapy services, and thereby determine whether reimbursement is appropiate, Medicare rules

require proper and complete documentation of the services rendered to beneficiaries. In

particular, the Medicare statute provides that "no such payments shall be made to any provider

unless it has furnished such information as the Secretary may request in order to determine the

amounts due to such provider under this part for the period with respect t to which the amounts

are being paid or any prior period." See 42 U.S.C. $ 1395g(a); Medicare Benefit Policy Manual,

ch. 8, $30.2.2.1.




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       B.      Medicare Payments to Skilled Nursing Facilities for Rehabilitation Therapy

        52.    Payment under Medicare for skilled nursing facility services is relatively

straightforward. Under its prospective payrnent system ("PPS"), Medicare pays the SNF a pre-

determined daily rate for each day skilled nursing and rehabilitation services are provided to the

patient. These rates are adjusted annually and based on locality. See 42 C.F.R. $412;42 U.S.C.

$139syy.

       53.     The daily rate is based, in part, on the patient's anticipated need for skilled

nursing care and therapy. Specifically, the daily PPS rate that Medicare pays an SNF depends on

the Resource Utilization Group ("RUG") to which a patient is assigned, and each RUG is

intended to reflect the anticipated costs associated with providing nursing and rehabilitation

services to beneficiaries with similar characteristics or resource needs.

        54.    There are five RUG levels for rehabilitation therapy patients: Rehabilitation Ultra

High (know as "RLJ"); Rehabilitation Very High ("RV"); Rehabilitation High ("RH");

Rehabilitation Medium ("RM"); and Rehabilitation Low ("RL").

       55.     The RUG level to which a patient is assigned depends on the number of skilled

therapy minutes and the number of therapy disciplines the patient received during a seven-day

assessment reference period (also known as the "look back period") (more on this below). The

requirements for the five RUG levels are as follows:


        RUG Level                   Requirements

        Ultra High (RU)             o 720 minutes/week total therapy
                                    o At least 2 disciplines, one at least 5 days/week
        Very High (RV)              a   500 minutes/week total therapy
                                    a   At least 1 discipline, 5 days/week
        Hish (RH)                   o   325 minutes/week total therapy
                                    a   At least 1 discipline, 5 days/week


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                                    . 150 minutes/week total therapy
                                    o 5 days/week across 3 disciplines
                                    o 45 minutes/week total therapy
                                    o 3 days/week across 3 disciplines

See 63 Fed. Reg. at26,262.

        56.     Medicare pays the highest rate for individuals receiving therapy at the Ultra High

(RU) level. This category is "intended to apply only to the most complex cases requiring

rehabilitative therapy well above the average amount of service time." Id. at 26,258.

Furthermore, the required therapy minutes for each RUG level are to be seen as bare minimums

for reimbursernent for that particular RUG level.

        57.     Medicare reimbursement also varies within each RUG level depending on: (1) the

patient's ability to perform certain activities of daily living ("ADLs"), such as eating, using the

toilet, bed mobility, and transfers (e.g., from a bed to a chair); and (2) whether, and to what

extent, the patient requires extensive services, such as intravenous treatment, a ventilator,

tracheostomy, or suctioning.

        58.     Patients are assigned one of five possible ADL (activities of daily living) scores:

A, B, C, L, or X. Patients with an "A" score are able to perform daily living activities without

assistance; patients with a "B" score require assistance with some activities but do not require

any extensive services; patients with a "C" score require assistance with all daily living activities

but do not require any extensive services; patients with an ADL score of "L" require only one

extensive service; and patients who require several extensive services typically receive an ADL

score of "X."

        59.     The table below shows the rates per day (for fiscal year 2017) at which Medicare

pays skilled nursing facilities for patients receiving nursing and rehabilitation services based on


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the patient's RUG level. The rates include both nursing and therapy components. The range for

each RUG level reflects reimbursement based on a patient's ADL score (the lowest reflecting

patients with an ADL score of "A" and the highest reimbursement amount reflecting patients

with an ADL score of "X").

                  Medicare Reimbursement: Daily Rates Based on RUG Level
                                       for Fiscal Year 2017
         Ultra High (RU)                              $804.36-$s09.89

         Very High (RV)                               $715.94-$4sr.27

         Hieh (RH)                                    $648.6s-$361 .19

         Medium (RM)                                  $595.02-$309.32

         Low (RL)                                     s522.56-52s0.88


See 87 Fed. Reg. 51976-51977.

        C.      Medicare Claims for Payment of SNF Rehabilitation Therapy

        60.     Medicare requires SNFs to periodically assess each patient's clinical condition

and functional status, as well as the patient's actual and expected need for skilled services. SNFs

are required to report the results of these assessment using a standardized tool known as the

Minimum Data Set ("MDS"). In short, MDS assessments are completed for each patient on

admission to the facility and at various mandated intervals thereafter, and then this information is

transmitted electronically by the facility to the MDS database of their respective state. MDS

information from state databases is then sent to the national MDS database.

        61.     More important, the MDS is used as the basis for determining a patient's RUG

level, and, therefore, the daily rate that Medicare will pay the SNF to provide skilled nursing or

therapy to that patient.




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       62.        Completion of the MDS is a prerequisite to payment under Medicare. See 63 Fed.

Reg. at 26,265.

        63.       The MDS form requires a certification by the provider stating, in part, that: "To

the best of my knowledge, this information was collected in accordance with applicable

Medicare and Medicaid requirements. I understand that this information is used as a basis for

ensuring that residents receive appropriate and quality care, and as a basis for payment from

federal funds." See MDS Versions 2.0 and 3.0 for Nursing Home Resident Assessment and Care

Screening.

       64.     As referenced above, SNFs assess patients and complete the MDS form for each

particular patient upon admission, and then upon the 5e, 14ft, 30th, 60th, and 90th day of the

patient's stay at the facility. The date the assessment is completed is known as the Assessment

Reference Date ("ARD"). The ARD is defined as the specific end point of look-back periods in

the MDS assessment process. It allows for those whom complete the MDS to refer to the same

period of time when reporting the condition of the resident. For SNFs, the ARD look back period

is 7-days, meaning that when a skilled nursing facility performs its assessment (except for the

first assessment), it looks at the patient for the seven days preceding the assessment reference

date. 63 Fed. Reg. 26,265-26,268.

       65.     The table below shows the Medicare assessment and payment schedule for SNFs:

RUG Assessment Date (ARD)            ARD Window                      Medicare Pa5rment Days
                                     (includins srace davs)          Determined bv RUG
5th Dav                              Davs 1-8                        Davs 1-14
14th Dav                             Davs I l-19                     Davs 15-30
30th Day                             Davs2l-34                       Davs 31-60
60th Day                             Davs 50-64                      Davs 6l-90
90fr Day                             Davs 80-94                      Davs 91-100




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        66.    The "Special Treatment and Procedures" section of the MDS requires a SNF to

report the number of minutes of skilled rehabilitation therapy the facility provided to a patient

during the look-back period as well as the types of therapy provided. In particular, a SNF must

report the number of days and minutes of therapy the SNF provided to a patient in each of the

following skilled rehabilitation therapy disciplines: physical therapy, occupational therapy, and

speech-language pathology. This information directly impacts the RUG level assigned to each

patient and therefore the amount of reimbursement that the SNF will receive for that patient.

       67.     Medicare reimbursement payments are made according to the most recent

assessment. For example, if a patient's second assessment after admission, reported on the 1 4ft

day of treatment, shows a RUG assignment of Ultra High, this indicates that from day 7 through

day 14 of that patient's stay at the facility, the patient received 720 minutes of therapy in at least

2 disciplines, where at least one therapy occurred 5 days per week (see tables above). It would

also mean that the SNF treating that patient would be paid for that patient at the Ultra High level

for days 15 through 30 (the next ARD after day l4), unless Medicare was notified of a change of

therapy plan (see below). See 63 Fed. Reg. 26267-26268. Similarly, if apatient's third

assessment after admission, reported on the 30ft day of treatment, shows a RUG assignment of

High, this indicates that from day 23 through day 30, that patient received 500 minutes of

therapy in at least one discipline, where at least one therapy (or the therapy provided if only in

one discipline) occurred 5 days per week. It would also mean that the SNF treating the patient

would be paid for that patient at the High level for days 31 through 60, unless Medicare was

notified of a change in therapy plan.

       68.     Effective October I,2011, Medicare requires that SNFs report a so-called Change

of Therapy ("COT") if, after an assessment for a particular patient, "the intensity of therapy (hat



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is, the total reimbursable therapy minutes...) changes to such a degree that it...no longer reflects

the RUG classification and payment assigoed" for that patient. 76Fed. Reg. at 48,518.

Specifically, at the end of each -7-day period after an assessment, if the therapy delivered during

that period does not match the last reported RUG, then the SNF must report the actual level of

therapy being delivered in a COT, and the reimbursement for that patient's care will be adjusted

accordingly. See id. at 48,518-26.

        69. A patient's RUG information is incorporated into the Health Insurance
Prospective Payment System ("HIPPS") code, which Medicare uses to determine the payment

owed to the skilled nursing facility. The HIPPS code must be included on the CMS-1450, which

SNFs submit electronically to Medicare for payment. Medicare payrnent will depend largely on

the HIPPS code the nursing facility submitted as part of the CMS-1450. See Fed. Reg. at 26,267;

Medicare Claims Processing Manual, Ch.25, $ 75.5.

        70.     SNFs submit the CMS-1450 electronically under Medicare Part A to Medicare

pa5rment processors known as Medicare Administrative Contractors ("MACs"). MACs process

and pay Medicare Part A claims for skilled nursing and rehabilitation therapy services performed

in skilled nursing facilities.

        71.     Of course, the above-described reimbursement structure requires that SNFs

accurately and truthfully report RUG and ADL levels, as well as whether continued stay at the

SNF is required.




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vr.      DEFENDANTS' CORPORATE STRUCTURE

         72. Defendants are a group of LLCs and corporations that own, manage or provide
services related to skilled nursing and immediate care facilities in Illinois and Indiana.

According to the cost reportsl filed with the Illinois Department Healthcare and Family Services

("IDHFS"), Defendants Extended Care Consulting, as well as the various care facilities listed

above, are owned by Eric Rothner andlor various of his family members either as individuals or

through entities such as corporations, LLCs or trusts.

         A.       Extended Care controls and manages rehabilitation services and operations
                  at the facility level in Illinois

         73.      In addition to his ownership interest in the care facilities, Eric Rothner also has an

ownership interest in Extended Care Consulting and Extended Care Clinical, Illinois limited

liability companies. Out of the 19 facilities in Illinois, 15 share the same principal address as

Extended Care at 2201 West Main Street in Evanston, Illinois.

         74.      Extended Care is managed by David Aronin and Central Street Management.

State records list Mr. Aronin and Steven Miretzky as the managers for Central Street

Management.

         75.      Extended Care provides services, such as administration, maintenance, and

housekeeping, to 19 rehabilitation and nursing facilities throughout the Chicagoland area owned

directly or indirectly by Eric Rothner.

         16.      Each of the 19 facilities that Extended Care provides services to, operates under

its own corporation; however, according to state records, all of these corporate entities are


          I Licensed skilled nursing and intermediate care facilities in Illinois are required to file an annual cost
report. 210 ILCS 4513-208. Licensees are also required to disclose ownership information such as the name of the
every owner, partner or shareholder. Id. at4513-207. The cost report instruction also requires care facilities owners
to disclose ownership in related organizations that have any responsibility in operating the care facilities. See
IDHFS Instructions for Completing20lT Long-Term Care Facilities Cost Reports at23.


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managed by the same managers/owners of Extended Care - Mr. Aronin, Mr. Miretzky, Eric

Rothner, andlor Central Street Management. Mr. Aronin is the registered agent for all 19

facilities of the corporation.

        77.      In addition to being listed as the LLC manager for the care facilities, Mr. Aronin

and Mr. Miretzky are also listed on the rvrvw.n:edicare.sey website as the director or the

managing employee for 12 of the 19 Illinois facilities.

        78.      In short, Extended Care and the 19 care facilities located in Illinois share common

ownership and management.

        19.      As just one example of this operational hierarchy, state records show that St.

James Wellness Rehab & Villa and Extended Care are owned by the Rothner family and

managed by Central Street Management. Mr. Aronin is an LLC manager of Extended Care and

Mr. Miretzky is a LLC manager of St. James Wellness Rehab & Villa. Finally, according to

r,vrvlv.medicare.qor,', both Mr. Aronin and Mr. Miretzky are directors of the St. James Wellness

Rehab & Villa.

        B.      DLS Financial Consulting, LLC, Lincolnshire Health & Rehabilitation
                Center, LLC and Dyer Nursing and Rehabilitation CenterrLLC control and
                manage rehabilitation services and operations at the facility Ievel in Indiana

        80.     According to its website, Extended Care Consulting operates five care facilities in

Indiana: 1) Munster Med Inn, 2)Dyer Nursing and Rehabilitation Center, 3) Sebo's Nursing and

Rehabilitation Center, 4) Lincolnshire Health Care Center, and 5) Spring Mill Health Campus.

Additionally, according to the cost reports filed with IDHFS, Eric Rothner possesses an

ownership interest in Lake County Nursing and Rehabilitation Center, which was not listed on

the Extended Care Consulting website.




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        81.     The six care facilities in Indiana are owned by Major Hospital but operated by

DLS Financial Consulting, LLC, Lincolnshire Health and Rehabilitation Center, LLC, or Dyer

Nursing and Rehabilitation Center, LLC. Similar to the Illinois-based facilities, the Indiana

facilities share common ownership and management.

        82.     DLS Financial Consulting, LLC operates at least three care facilities in Indiana:

Dyer Nursing and Rehabilitation Center, Sebo's Nursing and Rehabilitation Center, and Lake

County Nursing and Rehabilitation Center. DLS Financial Consulting shares the same Evanston,

Illinois principal address as Extended Care Consulting, and Miretzky is listed as the LLC

manager.

        83.     Lincolnshire Health & Rehabilitation Center, LLC operates a facility by the same

name, and is managed by Mr. Miretzky, with its principal address listed as the same Evanston,

Illinois address as Extended Care Consulting.

        84.    Dyer Nursing and Rehabilitation Center, LLC either owns or operates a facility by

the same name and is managed by Mr. Miretzky with its principal address listed as the same

Evanston, Illinois address as Extended Care Consulting.

        85.    According to r.l,r.vlv.medicare.*rg, Mr. Aronin is the managing employee for Dyer

Nursing and Rehabilitation Center, Sebo's Nursing and Rehabilitation Center, and for Lake

County Nursing and Rehabilitation Center.

       86.     The administrative departments at each facility typically include admissions,

social service, dietary, house keeping, and billing.

        81.    The therapy staff at each facility typically includes physical therapists, physical

therapy assistants, occupational therapists, certified occupational therapy assistants, and speech-

language patholo gists.




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        88.     At St. James Wellness Rehab & Villa, Rhonda Barajas, the MDS nurse, is

responsible for collecting the information needed for the MDS. She also determines the ARD

and submits the claims for payment.

VII. DEFENDANTS' FRAUDULENTCONDUCT
        89.     Since at least 2016, Defendants, through their owners, directors and/or managers,

systematically pressured facility administrators and therapists to classify Medicare Part A

patients at the Ultra High RUG level and to extend their length of stay without regard for the

patients' actual therapeutic or rehabilitative needs.

        90.    Wendy Janulis is the Regional Vice President of Operations for Extended Care,

LLC and has been in that position since November 2015.

        91.    Prior to her promotion to Regional VP of Operations, she served as the

administrator at Defendant Lemont Nursing and Rehabilitation Center for approximately nine

years. As the administrator of the facility, she was responsible for developing reimbursement

strategies resulting in high RUG scoring. The strategies she developed enabled the facility to

increase the number of days it was able to bill Medicare at Ultra High RUG rates.

       92.     In fact, during her time at Lemont Nursing and Rehabilitation Center, the

percentage of rehabilitation days billed at Ultra High rate were significantly higher than both the

national and state averages. The chart below shows percentage of total number of days Medicare

beneficiaries classified at the Ultra High RUG level to the total number of days all Medicare

beneficiaries residing at Lemont Nursing and Rehabilitation Center for 2013-2015.

                                      2013                    2014                    2015
Lemont Nursins & Rehab               72.7%                   743%                    74.6%
Illinois SNF Averase                 s9.6%                   64.s%                   68.6%
National SNF Averase                 61.9%                   65.2%                   66.8%




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           93.   When Ms. Janulis became the Regional VP of Operations for Extended Care,

LLC, she directed the administrators of the facilities she oversaw to also implement

reimbursement strategies that resulted in high RUG scoring'and longer stays, regardless of

patients'needs.

           94.   Ms. Janulis frequently attends management meetings at St. James Wellness Rehab

& Villa and give the managers of the facility directives, including demands to delay discharge of

Medicare patients and increase the Medicare billings. In one specific incident, Relator Glasper

informed Ms. Janulis that there were a couple patients ready to be discharged because they were

at their prior level of functioning and that the discharge dates for these patients had already be

pushed out once before. Relator Glasper also informed Ms. Janulis that they were being

discharged to an assisted living home and there would be a staff to care for them. Ms. Janulis did

not care and delayed the discharges statingthat therapy is not complete until after a home

evaluation has been done. Home evaluations can extend the stay between two to four weeks.

           95.   Another strategy Ms. Janulis utilizes is adjusting the patients' ADL scores. As

explained above, Medicare reimbursements varies depending on the patient's ability to perform

daily living activities ("ADLs") - the more assistance a patient requires, the higher the

reimbursement rate. Relator Glasper witnessed Ms. Janulis threaten facility personnel with their

jobs if ADL scores did not increase at the next report period. One patient went from an ADL

score of 0 (independent) to a score of 4 (total dependence) in one week.

           96.   The pressure to meet these targets caused facility therapists to provide therapy

that was not reasonable or necessary, skilled, andlor properly covered by the Medicare Part A

benefit.




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        97.     As a direct result of these practices, Defendants submitted false statements and

false claims to Medicare and received millions of dollars in reimbursement to which they were

not entitled.

    A. Fraudulent Classification and Billing of Patients at the Ultra High RUG Level
        98.     Defendants employed various schemes to classify and bill as many patients as

possible at the Ultra High RUG level, including setting the Ultra High RUG level as the default

RUG level for all newly-admitted patients, and enrolling patients in as many therapy services

and/or modalities as possible, regardless of whether it was clinically indicated.

        99.     According to the relators, once a Medicare Part A beneficiary is admitted to this

facility, facility administrators and therapists are expected to enroll the patient in as many

therapy services as possible at the time of admission and thereafter regardless of the patient's

rehabilitative needs. These directives are expressed at daily and weekly staff meetings.

        100. For example, Patient A was a72-year-old female admitted to the St. James Manor
facility in June 2017 following a hospital admission for a left hip replacement. While such a

procedure would normally require only physical and occupational therapy, during Patient A's

stay at the facility she was provided with physical, occupational, and speech therapy in an

amount that allowed Defendants to classify and bill her at the Ultra High RUG level for the

duration of her stay at St. James Manor. Not surprisingly, there was nothing in Patient A's

therapy notes to indicate why a 72-year old woman who was attempting to recover from a

successful hip replacement operation required speech therapy - a therapy service usually

reserved for patients who have suffered from a stroke (more on Patient A below).

        101. Other patients received multiple therapy services when it was clear that they
would not benefit from rehabilitative therapy and the services provided by the therapists did not



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require special skills or training. For example, Patient B, an S7-year-old female, was admitted to

St. James Manor in June 20T7. The therapy progress notes repeatedly indicate that Patient B was

consistently fatigued, was demonstrating decreasing cognitive abilities that impacted her ability

to complete simple tasks and exercises, including the ability to get out of bed. Patient B planned

to be discharged to a home where a caregiver would be present and home health services would

be provided. Yet, Defendants billed Medicare at the Ultra High RUG level for the full 100 days

for services could be carried out by family members and caregivers such as providing verbal

cues for dressing and for hand placement to maintain balance when sitting.

        102. Similarly, Patient C, a73-year-old female, began receiving physical and
occupational therapy services from St. James Manor at the end of February 2017 after a l2-day

hospital stay for treatment for an UTI and gangrene. From the onset, it was clear that Patient C

was not a suitable candidate for either of these therapy services. This was afact that Defendants

were acutely awarc since prior to Patient C's hospital stay, she was already a long-term resident

of the facility and was receiving continuous non-skilled nursing care. This was because Patient C

was suffering from dementia and had difficulty understanding and following even single step

commands (facts that were well indicated in Patient C's progress notes). However, rather than

place Patient C back in long-term non-skilled care upon her retum to the facility, Defendants

took advantage of SNF billing regulations and profited from Patient C's hospital stay by billing

Medicare for 100 full days of physical and occupational therapy at the Very High RUG level.

       103. Of course, Patient C showed no progress during this time, and as soon as the 100
days of Medicare reimbursement were up she was discharged back to the facility as a long-term

care resident requiring 24-hour non-skilled assistance.




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         104. Patient D, a73-year-old-man, was initially admitted to St. James Manor following
hospital treatment for a urinary tract infection and heart failure. From the time of his admission,

it was clear that Patient D was not a good candidate for skiiled therapy as his serious medical

condition precluded him from participating in any therapy exercises. Nevertheless, Patient D

received an initial RUG level classification of Ultra High. Indeed, two days after his initial

admission, Patient D was hospitalized for 18 days for kidney failure and for an altered mental

state.

         105. After his 18-day hospitalization, Patient D was re-admitted to St. James Manor
and re-evaluated. More important, his therapy notes indicatethat due to "impaired hearing" and

an impaired ability to communicate, as well as an inability to safely "complete ADLs," Patient D

was not a good candidate for skilled therapy. Nevertheless, Defendants billed Medicare for

Patient D at the Ultra High RUG level for 26 days, and only stopped doing so because Patient

D's medical condition was so bad that he needed to hospitalized for a third time.

         106. Defendants did not tolerate SNF administrator atdlor therapist resistance to
setting the RUG level of new admissions at Ultra High by default, nor to the types andlor amount

of therapy provided to patients. If administrators or therapists resisted theses instructions, their

hours would be reduced, and it would be made clear to them that their job was in jeopardy.

Defendants used these same tactics to pressure administrators to increase ADL scores.

Defendants followed through on these threats: Relator Glasper's hours was reduced shortly after

she complained to Defendants that patients were receiving and being billed for therapy that they

did not need andlor could not benefit from, or simply were not receiving at all.

         107. Instead, Defendants instructed all SNF administrators and therapists to do
whatever it took to achieve corporate goals for RUG billing. This included providing andlor



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billing therapy to patients even if they did not want it andlor think they would benefit from it (or,

as described above, could not take part in the therapy itself because of their medical condition). It


also included having therapists in one discipline cover for a therapist in another discipline if the

initial therapist had not provided enough therapy minutes to bill the patient at the Ultra High

RUG level even if the patient would not benefit from the second form of therapy.

        108. Not surprisingly, as a result of the actions described above, Defendants' Ultra
High billings not only rose significantly over time but were higher when compared to state and

national billing averages. For example, the table below shows the percentage of rehabilitation

days that Defendants billed Medicare at the Ultra High RUG level for the years2012 and2013 at

just four of Defendants' Illinois SNFs:


SNF Facitity                              Ultra High RUG 2013         Ultra lligh RUG 2012

Lemont Nursing & Rehab                    7I%                         51%

Sheridan Shores Nursing & Rehab           7t%                         64%

Tri-State Nursing & Rehab                 70%                         13%

Lakewood Nursing & Rehab                  68%                         50%




       109. The national Ultra High RUG level averages for all skilled nursing facilities in
2012 artd 2013 were 50Yo and 54o/o respectively. As such, for fiscal year 2073, each of the

Defendant Illinois SNFs listed above billed Medicare at the Ultra High RUG level for at least

14o/omore rehabilitation days than the national average (and as much as 17o/o above the average).

The numbers above also demonstrate dramatic increases in Ultra High RUG level billing even

over a short period of time. For example, Ultra High billing increased at the Lemont Nursing &




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Rehabilitation facility by 14% from2012 to 2013. Similarly, Ultra High billing increased at the

Lakewood Nursing & Rehabilitation facility by L8% for that same single year time period.

    B. Defendants Keep Patients in Their SNFs Longer Than Reasonable or Necessary to
        Increase Medicare Reimbursement

        110. Defendants also employed various schemes to needlessly increase the length of
stay for all SNF patients.

        11   1.   "Length of stay" refers to the number of days that a Medicare beneficiary stays at

a SNF receiving skilled nursing or therapy services. As indicated above, subject to certain

conditions, Medicare Part A covers up to 100 days of nursing andlor rehabilitative care in a

skilled nursing facility for a benefit period (i.e., spell of illness) following a qualifying hospital

stay of at least three consecutive days. 42 U.S.C. $1395d(a)(2XA); 42 C.F.R. $409.61(b).

        Il2.      The average length of stay for all SNFs in Illinois from 2013 to 2015 were 30.6,

30.3, and 29.7 days respectively. While the average length of stay remained relatively constant

throughout the state during this period, the length of stay at Defendant Illinois SNFs rose. In

2013, the average length of stay at Defendant Illinois SNFs was 9.17o/o greater than the state

average; that percentage rose to 15 .l7oh tn 2014. And by 2015, the average length of stay at

Defendant Illinois SNFs was 19.42o/o greater than the state average.

        113. This trend holds true to Defendant Indiana SNFs as well. In2013 arrd2014,the
average length of stay for Defendant Indiana SNFs were one to two percentage point lower than

the state average. In2015, however, all six of Defendant Indiana SNFs have longer length of

stays compared to the state average. In fact, average length of stay for Defendant Indiana SNFs

was 7 .28o/o greater than the average length of stay for all SNFs in Indiana rn 2015.

        II4. Also telling, is the increased number of Defendant Illinois SNFs that fall within
the first quartile of average length of stay. These facilities are in the top 25oh of longest average


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length of stay in Illinois. The graph below illustrates this trend: In 2013 , three of the Defendant

Illinois SNFs had an average length of stay that fell in the top 25o/o. In 2014, that number rose to

six and by 2015, nine of Defendants' 15 SNFs were keeping their patients longer than at least

three-quarters of all SNFs in Illinois.

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                                                                * indicates lL Average
         0.0
           2012                2013                   2014


         115. Defendants pressured their facility administrators and therapists to extend the
stays of their Medicare patients whenever possible to the fulI 100 days eligible for

reimbursement regardless of actual patient rehabilitative needs.

         116. Indeed, even when patients and/or their family members pleaded with SNF staff
to be able to return to their own homes and families, their pleas were ignored for the sole purpose

of maximizing Medicare reimbursements. This included Defendants instructing SNF

administrators and therapists to take advantage of the emotional r,'ulnerability of the families or

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other caregivers of their patients by telling them that if they really cared for the well-being of

their loved one they would convince them to stay at the facility and continue to engage in

therapy (or words to this effect).

        lT7   .   Patient H was admitted to St. James Manor & Villas on February 27,2017

following a joint replacement surgery. She responded well to the therapy and scheduled to be

discharged on March 18,20T7 . Four days prior to the scheduled discharged, Defendants

determined that she would not be discharged despite her doctor's order and convinced her and

her partner that she needed more therapy. She remained in the facility for an additional two and

half weeks.

        1   18. Another scheme employed by Defendants to extend the length of stay of their
patients was to require facility administrators to schedule home evaluations before discharging

Medicare beneficiaries who had yet to exhaust their SNF benefit even when the beneficiary was

being discharged to a long-term care facility or into the care of their family or had a medical

condition that did not require a home evaluation. As such, when a patient was medically ready

for discharge, or indicated that they wanted to and/or were able to go home, they would be

informed that they could not be discharged until such time as a home evaluation was conducted.

Defendants would then delay these home evaluations, allowing Defendants to continue to bill

Medicare for therapy or rehabilitative services that were not medically necessary.

        ll9.      Home evaluations are not required by Medicare prior to discharge. SNFs are

required to provide their patients with a comprehensive discharge plan that takes into

consideration the patient's needs and goals of care and treatment preferences and the caregiver/

support person's availability and capacity, and should involve the patient and patient's

representative in developing the discharge plan. See 42 CFR 483.21(c).



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        120. For example, Patient E was admitted at the facility on May 4,2017 . She was
independent with ADLs and her family wanted to take home on June 6.2017. The therapy had

indicated that she was ready to be discharged; she had met all her goals. Ms. Janulis was more

concern with billing than patient care and told the therapists that she wanted them to continue to

treat Patient E. Patient E's discharged was delayed for approximately three weeks under the

pretense of requiring a home assessment.

        121. Similarly, Defendants also increased length of stay by pressuring their SNF to
constantly increase patient therapy goals regardless of whether or not the therapy goals were

necessary or even medically attainable based on the patient's medical condition.

        122. Take for example Patient A, the 72-year-old female patient discussed above who
was admitted to the St. James Manor facility in June 2017 after a left hip replacement and was

provided with 100 days of physical, occupational, and speech therapy. While her therapy

progress notes indicate that she showed considerable progress even after a short period of

therapy, and that she was a likely candidate for meeting all of her therapy goals early, rather than

discharging her early, Defendants instructed her therapists to continue to increase her therapy

goals beyond what those same therapists deerned necessary solely for the purpose of keeping her

at St. James for the fuIl 100 days that Defendants could bill Medicare for her therapy.

        123. As such, Patient A's therapy goal for standing upright was increased to 20
minutes without a rest break, even though she was to be discharged to her home where the

distance from one room to another never would require her to stand for this length of time

without a break. Another therapy goal that was unnecessarily upgraded was self-care toileting

tasks. By Patient A's first progress evaluation, her therapy notes indicate that she was safely

performing all toileting tasks without any assistive device, and that there was no further progress



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to be made in this area since standby assistance would be present in the patient's home if needed.

Despite this assessment, and despite the fact that Patient A was to be discharged to a home with a

care giver and regular home services, her therapy goal was unnecessarily upgraded to

independence in all toileting areas.

        124. Patient F, a7I-year-old female, was admitted to St. James Manor inMarch20lT
after a hip replacement. Like Patient A, her therapy notes indicate that she responded very well

to physical and occupational therapy, and that she recovered to her prior level of functionality

quickly (within a week). Rather than discharging her, Defendants constantly upgraded her

therapy goals to keep her at the facility to maximize the Medicare reimbursement. This included

increasing her dressing goal (the ability of the patient to dress themselves) despite the fact that

Patient F not only demonstrated the ability to do so but was to be discharged to her own home

where her spouse and adult children could provide any assistance if necessary.

        125. Even worse, based on her quick recovery, Patient F and her family repeatedly
requested that she be released from St. James to no avail. Not only were their pleas rebuffed, but

in an effort to convince her to stay at the facility, Defendants falsely threatened Patient E that if

she left the facility, Medicare would not cover her therapy sessions and that she would be

responsible for paying for her own treatment.

        126. Patient G, an 84-year-old male, was admitted to St. James Manor in June 20ll for
physical and occupational therapy due to muscle weakness and unsteadiness on his feet. Daily

therapy progress notes for Patient G show that within two to three days after admission he was

able to stand for 25 minutes on his own before requiring break, bike for 20 minutes, and

complete all functional transfers without physical assistance. Indeed, after less than a week,

Patient F was healthy enough to leave the facility everyday with his family to tend to his garden.



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          I27.    Nevertheless, rather than discharging a clearly fully recovered patient,

Defendants increased his therapy goals and required that Patient G go through a daily exercise

routine that did not require a skilled therapist (as is required by Medicare), and billed Medicare

at the Ultra High RUG level for thirty days after Patient G had made a full recovery.

                                          LEGAL CLAIMS

                                            Count I
                     Federal False Claims Act: Presentation of False Claims
                                      31 U.S.C. $372e(a)(1)

          128. Relators re-allege and incorporate by reference the allegations previously alleged
herein.

          129. This is a claim for treble damages and civil penalties under the False Claims Act,
31 U.S.C. $$ 372e(a)(1XA), 372e(a)(t)(B), and 372e(a)(T)(C).

          130. As a result of the misconduct alleged herein, Defendants knowingly presented, or
caused to be presented, to the United States government a false or fraudulent claim for payrnent

or approval in violation of 31 U.S.C. $ 3729(a)(1XA).

          131. As a result of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement material to a false or fraudulent claim in

violation of 31 U.S.C. $ 3729(a)(1)(B).

          132. As a result of the misconduct alleged herein, Defendants knowingly conspired to
present, or cause to be presented, a false or fraudulent claim for payment or approval to the

United States govefirment, and knowingly conspired to make, use, or caused to be made or used,

a false record or statement material to false or fraudulent claims in violation of 31 U.S.C. $


372e(a)(t)(C).




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          133. At the times Defendants presented or cause to be presented the false or fraudulent
claims for payment or approval, they knew that the claims were false or fraudulent or they acted

in deliberate ignorance or reckless disregard thereof.

          134. The United States government, unaware of the false or fraudulent nature of these
claims, paid such claims when they would not otherwise have been paid.

          135. By reason of these payments, the United States government has been damaged,
and continues to be damaged, in a substantial amount to be determined attrial.

                                         COUNT II
                 False Claims Act: Making or Using False Record or Statement
                                    31 U.S.C. $ 372e(a)(2)

          136. Relators re-allege and incorporate by reference the allegations previously alleged
herein.

          137. Defendants have knowingly made, used, or caused to be made or used, false
records or statements to get false or fraudulent claims paid or approved by the Government

Insurers.

          138. At the times Defendants made, used, or caused to be made or used false records or
statements to get false or fraudulent claims paid or approved by the Government Insurers, they

knew that the information in thern was false or acted in deliberate ignorance or reckless disregard

of the truth or falsitv of the information.

                                          COUNT III
                 False Claims Act: False Record to Avoid Obligation to Refund
                                     31 u.S.C. $ 372e(a)(2)

          139. Relators re:allege and incorporate by reference the allegations previously alleged
herein.




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          140. Defendants have knowingly made, used or caused to be made or used, false
records or statements to conceal, avoid, or decrease an obligation to pay or transmit money or

property to the Government Insurers.

          l4l.      At the times Defendants made, used, or caused to be made or used false records or

statements to conceal, avoid, or decrease an obligation to pay or transmit money or property to

the Government Insurers, they knew that the information in them was false or they acted in

deliberate ignorance or reckless disregard of the truth or falsity of the information.

                                               Count IV
                                     False Claims Act: Retaliation
                                          31 U.S.C. S3730(h)

          142. Relators re-allege and incorporate by reference the allegations previously alleged
herein.

          143. Because of their lawful acts to stop Defendants from defrauding the govemment
as alleged herein, Defendants retaliated against Relators in the terms and conditions of their

employment by actually (Relator Wyckoff) and constructively (Relator Glasper) firing them.

          144. Under 31 U.S.C. $ 3730(h), Defendants are liable to the Relators for two (2) times
their back pay plus interest and special damages, including but not limited to attorneys' fees and

litigation costs.



                                        PRAYER FOR RELIEF

          WHEREFORE, Relators Jori Glasper and Krystal Wyckoff respectfully request that the

Court enter judgment in their favor and in favor of the United States of America against all

Defendants.




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                                                  Respectfully submitted,



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